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                     Vanessa Torres De Leon                                Senior Forensic Chemist
                     Department of Justice                                 South Central Laboratory
                     Drug Enforcement Administration                       Dallas, TX
                     Office of Forensic Sciences


                                            AREA OF EXPERTISE

Forensic Discipline
            Seized Drug Analysis

Expert Testimony
  • 11/27/2023; Fort Worth, TX; United States of America vs Terrance Deshun Cash; 4:23-CR-256-O
  • 06/26/2023; McAllen, TX; United States of America vs Juan Posas Jr; 7:22-1076
  • 01/26/2023; Amarillo, TX; United States of America vs Gregory Neil Maxwell; 2:21-CR-096-Z
  • 08/25/2021; Pecos, TX; United States of America vs Oscar Sanitago Garcia Sanchez; P-21-CR-122
  • 05/20/2021; Corpus Christi, TX; United States of America vs Robert Loya Jr; C-20-0832
  • 11/13/2020; McAllen, TX; United States of America vs Rosbel Garcia Jr; M-18-396

                                     PROFESSIONAL EXPERIENCE
DRUG ENFORCEMENT ADMINISTRATION
Senior Forensic Chemist, DEA South Central Laboratory, Dallas, TX, 2017 - Present
          Analyze evidence for the presence of control drug substances.
          Issue reports on analytical results and testify to findings in court.
          Perform routine maintenance and checks on laboratory equipment.
          Field Chemist Training Officer
Training
          Basic Forensic Chemist Course (Quantico, VA), 2017
          Basic Clandestine Laboratory Safety Training Course (Quantico, VA), 2018
          Clandestine Laboratory Advanced Site Safety School (Quantico, VA), 2020

AMGEN MANUFACTURING LIMITED
Scientist, Analytical Sciences Group, Juncos, PR, 2006-2017
          Routinely performed assay, purity and characterization analyses on protein and antibody products by
           High Performance Liquid Chromatography (HPLC), Capillary Electrophoresis (CE) and gel
           electrophoresis.
          Wrote and/or reviewed equipment, standard operating procedures, technical protocols,
           technical reports and supplemental data for Federal Drug Administration (FDA) filling.
          Developed, qualified and/or validated HPLC, Ultra Performance Liquid Chromatography (UPLC) and UV
           spectroscopy methods.
          Supported Non Conformance investigations by designing and executing experiments for root cause
           analysis.
          Trained associates in analytical methods.
          Designed and implemented an in-house preventive maintenance and performance verification
           program for Agilent 1100 Series HPLC instruments.




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GALEPHAR PARMACEUTICAL RESEARCH
Laboratory Technician, Juncos, PR, 2004-2006
          Participated in the research and development of new pharmaceutical products.

PFIZER
Laboratory Technician, Temporary Employee, Caguas, PR, 2003
          Participated in the method transfer of controlled drug products.

PEPSI INTERNATIONAL
Laboratory Technician, Temporary Employee, Cidra, PR, 2003
          Performed tests on products already on sale in the Latin-American market to assure that thequality
           of the products and the sanitary conditions of the bottling companies remained withinstandards.

US ARMY
Petroleum Laboratory Specialist, Fort Lee, VA, 2000-2002
          Honorably discharged

                                EDUCATION AND CERTIFICATIONS

University of Puerto Rico, Humacao, PR
            Bachelor of Science in Industrial Chemistry, 2000




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